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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


DANIEL WILLIAM RUDD,                                     HON. GORDON J. QUIST
                                                         U.S. District Judge
              Plaintiff,
v                                                        Case No. 1:18-cv-124

THE CITY OF NORTON SHORES, et al.

                                                         ORDER ALLOWING BOLHOUSE,
                                                         HOFSTEE, & MCLEAN PC TO
                                                         WITHDRAW AS ATTORNEYS
                                                         OF RECORD FOR DEFENDANT
                                                         MELISSA MEYERS

                   .
_______________________________________________________________________
Daniel W. Rudd                                      Michelle M. McLean (P71393)
Plaintiff, In Pro Per                               Bolhouse, Hofstee, & McLean PC
201 S. Lake Ave                                     Attorneys for Defendants
Spring Lake, MI 49456                               McLean, Baar, and Bolhouse,
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                                                    Grandville, MI 49418
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Attorney for Defendants: City of Norton Shores,
Gary Neland, Dnaiel Shaw, Matthew Ryndress,         Rock Wood (P41181), Mich. Atty Gen.
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                                                    Grand Rapids, MI 49503
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                                                    MMeyers@tanisschultz.com


CORRECTED ORDER ALLOWING BOLHOUSE, HOFSTEE, & MCLEAN PC TO WITHDRAW
       AS ATTORNEYS OF RECORD FOR DEFENDANT MELISSA MEYERS

        This matter was brought before the Court upon the Motion filed by Bolhouse, Hofstee, &
McLean PC (“Bolhouse”) seeking an order allowing for Bolhouse to withdraw as attorney of
record for Defendant Melissa Meyers (“Meyers”).
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       IT IS HEREBY ORDERED that Bolhouse, Hofstee, & McLean PC shall be allowed to
withdraw as attorneys of record for Defendant Melissa Meyers. All notices and filings shall be
served upon Defendant Melissa Meyers at her address of:

Melissa Meyers
In Pro Per
Tanis Schultz
85 Campau Ave. NW
Suite R305
Grand Rapids, MI 49503
616-608-7149
melissalmeyers1971@gmail.com
MMeyers@tanisschultz.com


until further order of the Court or until a new attorney files an appearance on Meyers’ behalf.

                              IT IS SO ORDERED.



                              _________________________________
                              Honorable Gordon J. Quist




Attest: A true Copy


________________
Deputy Court Clerk




Prepared by:
Michelle M. McLean (P71393)
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